      Case 4:23-cv-00615-O Document 14 Filed 02/08/24               Page 1 of 1 PageID 65



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 MICHAEL BARACK, MICHELLE                         §
 BARACK, and GERALD BUSBEE,                       §
 individually and on behalf of a class,           §
                                                  §
          Plaintiffs,                             § Civil Case No. 4:23-cv-00615-O
                                                  §
 v.                                               §
                                                  §
 BANKROLL CAPITAL INC.,                           §
                                                  §
          Defendant.                              §

                                             ORDER

         Before the Court is Plaintiffs’ Motion for Default Judgment (ECF No. 13), filed February

6, 2024. The Clerk of Court entered default against Defendant on January 17, 2024. See Clerk’s

Entry of Default, ECF No. 12.

         The Court hereby REFERS this Motion and all related responses, replies, briefs in support,

and appendices, etc., to United States Magistrate Judge Ray for hearing, if necessary, and final

determination. See 28 U.S.C. § 636(b). Further pleadings concerning this Motion shall be filed

with a transmittal letter addressed to Judge Ray so that copies may be sent directly to him without

delay.

         SO ORDERED on this 8th day of February, 2024.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
